      Case 1:17-cr-00224-AT-CMS Document 111 Filed 05/01/19 Page 1 of 6




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 UNITED STATES OF AMERICA,                    :
                                              :
      Plaintiff,                              :
                                              :          CIVIL ACTION NO.
      v.                                      :          1:17-CR-0224-AT-1
                                              :
 ALLEN J. PENDERGRASS,                        :
                                              :
      Defendant.                              :
                                              :

                                      ORDER

      The Court held a phone conference on April 27, 2019 regarding Defendant’s

currently pending Motion to Dismiss Indictment for Speedy Trial Violation (Post

Indictment) (Doc. 89), Defendant’s Motion to Dismiss Indictment for Speedy Trial

Violation Pursuant to the Fifth and Sixth Amendment (Pre-Indictment) (Doc. 90),

and Defendant’s Motion for Leave to File Motion to Dismiss Out of Time and Brief

in Support (Doc. 104). Additionally, Defendant’s Unopposed Motion to Continue

Trial, filed after the conference, is before the Court. (Doc. 110.)

      After review of the parties’ multiple briefs concerning Defendant’s Motion

to Dismiss Indictment for Speedy Trial Violation (Post-Indictment) (Doc. 89), the

Court DENIES this Motion. The Court agrees with and adopts the speedy trial

timeline calculations and analysis of the case docketed activity and excludable time

set forth in the Government’s Response and supplemental Response Brief in

connection with Defendant’s briefs in support of his Motion to Dismiss the
      Case 1:17-cr-00224-AT-CMS Document 111 Filed 05/01/19 Page 2 of 6




Indictment for Speedy Trial Violation (Post-Indictment) filed pursuant to the

Court’s directive. (Docs. 95, 102, 103.) The Court finds that even if the Court were

not to adopt the Government’s view of the tolling impact of United States v.

Jernigan, 341 F.3d 1273, 1286-87 (11th Cir. 2003) on the speedy trial clock, the

Government’s supplemental response brief in conjunction with its original brief

correctly calculate the excludable tolling timeframes. Adopting that analysis of the

time frames at issue, the Court finds that less than 70 non-excludable days have

passed since Defendant’s arraignment. Thus, the Court concludes no speedy

violation has occurred.

       Moreover, the Court finds that the Eleventh Circuit’s holding in Jernigan

properly applies under the circumstances of this case and provides an additional

basis for the Court’s determination that the Speedy Trial Act has not been violated.

The Eleventh Circuit there held that under 18 U.S.C. § 3161(h)(1)(F))1 all time

between the filing of the Defendant’s motion opposing the Government’s “motion”

regarding its intent to file 404(b) evidence motion requiring a hearing must be

excluded through the conclusion of the hearing required by the motion.

       Here, the Government’s Notice of Intention to Introduce and Motion in

Limine to Permit the Admission of Evidence of Defendant’s Acts Not Alleged in the

Indictment (Doc. 71) and Amended Notice (as to the same issues as a whole) (Doc.



1 This section, which provides that “delay resulting from any pretrial motion, from the filing of
the motion through the conclusion of the hearing on, or other prompt disposition of, such
motion,” subsequently was re-codified and numbered as 18 U.S.C. § 3161(h)(1)(D). (Emphasis
added).


                                               2
        Case 1:17-cr-00224-AT-CMS Document 111 Filed 05/01/19 Page 3 of 6




73) were filed in the period immediately preceding the November 26, 2019

scheduled trial in this case, on October 12, 2018 and November 2, 2018

respectively. Defendant’s response brief (filed November 19, 2018, Doc. 78)

opposed the Government’s request and notice of its intent to attempt to introduce

evidence of similar acts and purportedly inextricably intertwined other bad acts.

Given the broad range of allegedly similar bad acts that the Government sought to

introduce and the Defendant’s inevitable opposition to that motion from the start,

the Court clearly recognized that it would need to conduct a pre-trial hearing to

resolve this evidentiary dispute. But 0n the same day (November 19, 2019) that

Defendant’s counsel belatedly filed his opposition to the Government’s 404(b)

motion, Defendant also filed his Motion for the Court’s appointment of new

counsel. The Court promptly held a hearing on the appointment of counsel issue

on November 20, 2019 (Doc. 80) and granted that motion via appointment of new

counsel on December 10, 2019. The evidentiary issues at the heart of the 404(b)

dispute here, regardless of which party filed the 404(b) motion, “plainly cannot be

properly ascertained until the trial itself” because of the “context-intensive

inquiries that can only be competently made by the district court upon assessing

firsthand the evidence presented by both parties.” Jernigan, 341 F. 3d at 1287.

Given the significant evidentiary issues at issue that impact both parties and the

specific case circumstances presented here, the Court concludes that the Court's

deferral of the resolution of the 404(b) issues until a hearing directly before or at

trial   “does   not   render   the   intervening    time   non-excludable     under


                                         3
         Case 1:17-cr-00224-AT-CMS Document 111 Filed 05/01/19 Page 4 of 6




§ 3161(h)(1)(F)).”2 Id. (citing United States v. Beard, 41 F.3d 1486, 1488 (11th Cir.

1995)); see also United States v. Tinklenberg, 563 U.S. 647, 656 (2011).

          At the conclusion of the April 27, 2019 phone conference with counsel, the

Court – with both counsel’s agreement – determined that this case should refer

back to the Magistrate Judge for review the Defendant’s Motion to Dismiss

Indictment Pursuant to the Fifth and Sixth Amendment (Pre-Indictment) (Doc.

90) and Defendant’s Motion for Leave to File Motion to Dismiss Out of Time and

Brief in Support (Doc. 104). Upon further consideration, however, the Court has

now determined that it will GRANT the Defendant’s Motion for Leave to File

Motion to Dismiss Out of Time and Brief in Support (Doc. 104). In the Court’s

view, Defendant’s pre-trial defense presentation was sufficiently abbreviated and

potentially adversely impacted by his prior counsel’s illness, that the Court finds

that the better part of wisdom and fairness in case management calls for allowing

Defendant’s new counsel to pursue this additional defensive motion (Doc. 90) at

this time. Accordingly, pursuant to Federal Rule of Criminal Procedure 12(c)(2),

the Court RESETS the time for the Defendant’s filing the Defendant’s Motion to

Dismiss Indictment Pursuant to the Fifth and Sixth Amendment (Pre-Indictment)

(Doc. 90) and DE-CERTIFIES this case as it is not ready for trial and the

production of certain discovery in electronic format remains outstanding.

          Having now granted Defendant’s Motion for Leave to File Motion to Dismiss

out of Time, the Court DEEMS the Defendant’s Motion to Dismiss (Doc. 90) to be


2   See n1.


                                           4
      Case 1:17-cr-00224-AT-CMS Document 111 Filed 05/01/19 Page 5 of 6




filed, for any relevant time clock purpose, as of the date of the entry of this Order.

The briefing already filed in connection with this motion shall similarly BE

DEEMED complete and filed as of this date. The Court accordingly REFERS this

case back to the Magistrate Judge for proceedings to handle the identified motion

and any other remaining pre-trial matters that may now arise.

      Defendant has shown good cause to support his unopposed motion to

continue the trial.     This extension is necessary for Defendant’s effective

preparation for trial based on the circumstances outlined in Defendant’s motion as

well as Defendant’s presentation of additional pretrial motions. The extension will

allow counsel time to adequately review the recently produced and soon-to-be

produced discovery and to prepare for trial. The Court finds that the ends of justice

in permitting this continuance outweigh the Defendant’s and the public interest in

a speedy trial. Therefore, pursuant to 18 U.S.C. § 3161(h)(7)(a) and (B)(i) and (iv),

the 60-day period between May 20, 2019 and July 19, 2019, as requested by

Defendant, shall be excluded from the Speedy Trial calculations. The Court

foresees that it is likely that trial will need to commence some number of weeks

after this 60-day period, at very least, because of the pendency of the Defendant’s

additional motion to dismiss (Doc. 90), the potential need for an evidentiary

hearing on that motion, and the time required for the Magistrate Judge’s issuance

of a Report and Recommendation and the Court’s review of such. Accordingly, the

Court will defer scheduling the start date of trial at least until completion of




                                          5
       Case 1:17-cr-00224-AT-CMS Document 111 Filed 05/01/19 Page 6 of 6




proceedings before the Magistrate Judge and re-certification of the case as ready

for trial.

       IT IS SO ORDERED this 1st day of May, 2019.




                                       ___________________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE




                                       6
